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Counsel for Nobuaki Kobayashi, in his capacity
as the Bankruptcy Trustee and Foreign Representative
of MtGox Co., Ltd., a/k/a MtGox KK

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


  In re:                                               Chapter 15

  MtGox Co., Ltd. (a/k/a MtGox KK),                    Case No. 14-31229-sgj-15

                 Debtor in a Foreign Proceeding.


                                   NOTICE OF HEARING

          PLEASE TAKE NOTICE that a hearing on the Motion for Modification of Recognition

Pursuant to Bankruptcy Code Section 1517(D) and Amended and Verified Petition for Recognition

and Chapter 15 Relief [Docket No. 185] has been scheduled for December 4, 2018, at 9:30 a.m.

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(prevailing Central time) before the Honorable Stacey G. C. Jernigan, United States Bankruptcy

Judge for the Northern District of Texas, 1100 Commerce Street, Courtroom 1428, Dallas, Texas

75242-1496.


Dated: October 31, 2018                    Respectfully submitted,

                                           GARDERE WYNNE SEWELL LLP

                                           /s/ Thomas Scannell
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                                           of MtGox Co., Ltd., a/k/a MtGox KK




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